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 November 4, 2024

 VIA CM/ECF AND HAND DELIVERY

 The Honorable Gregory B. Williams
 U.S. District Court for the District of Delaware
 J. Caleb Boggs Federal Building
 844 N. King Street
 Wilmington, DE 19801-3555

 Re:     Jazz Pharms., Inc., et al. v. Avadel CNS Pharms., LLC; C.A. No. 22-941-GBW

 Dear Judge Williams:

         Pursuant to the Court’s Order, (D.I. 195), Avadel submits copies of the disputed privilege
 log entries for in camera review. If a document contains redactions (and was not withheld in full),
 Avadel has highlighted its redactions in pink highlighting. To aid the Court in its review, Avadel
 has also included the relevant attachments to certain challenged documents, reflected by the rows
 highlighted in grey below. These documents provide greater context as to why the discussions in
 the challenged documents are privileged. Jazz did not challenge Avadel’s privilege assertion for
 these documents in the grey rows. Jerad Seurer and Craig Siman are both Avadel in-house counsel,
 and both Troutman Sanders and Latham & Watkins represent Avadel. The below table reflects a
 complete list of the documents being provided to the Court.

        Tab #              Bates and/or Log Number                  Redacted or Withheld in Full

                                     ProPharma Documents

  1                  PRIV_AVDL_AT_00004385                        Withheld in full

  2                  PRIV_AVDL_AT_00004386                        Withheld in full

  3                  PRIV_AVDL_AT_00003987                        Withheld in full

  4                  PRIV_AVDL_AT_00014373                        Withheld in full

  5                  PRIV_AVDL_AT_00021869                        Withheld in full

  6                  PRIV_AVDL_AT_00014059                        Withheld in full

  7                  PRIV_AVDL_AT_00004470                        Withheld in full




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        Tab #          Bates and/or Log Number         Redacted or Withheld in Full

  8                PRIV_AVDL_AT_00004316              Withheld in full

  9                PRIV_AVDL_AT_00020758              Withheld in full

  10               PRIV_AVDL_AT_00017357              Withheld in full

  11               PRIV_AVDL_AT_00004370              Withheld in full

  12               PRIV_AVDL_AT_00004150              Withheld in full

  13               PRIV_AVDL_AT_00002487              Withheld in full

  13a              PRIV_AVDL_AT_00002490              Withheld in full

  14               PRIV_AVDL_AT_00021534 /            Redacted
                   AVDL_AT_00852833                   (redactions highlighted in pink)

  15               PRIV_AVDL_AT_00004438              Withheld in full

  16               PRIV_AVDL_AT_00004439              Withheld in full

  17               PRIV_AVDL_AT_00004434              Withheld in full

  18               PRIV_AVDL_AT_00004441              Withheld in full

  19               PRIV_AVDL_AT_00004464              Withheld in full

  20               PRIV_AVDL_AT_00004433              Withheld in full

  21               PRIV_AVDL_AT_00004407              Withheld in full

  22               PRIV_AVDL_AT_00020818 /            Redacted
                   AVDL_AT_00849742                   (redactions highlighted in pink)

  23               PRIV_AVDL_AT_00012245 /            Redacted
                   AVDL_AT_00815065                   (redactions highlighted in pink)

  24               PRIV_AVDL_AT_00003486              Withheld in full

  25               PRIV_AVDL_AT_00003489              Withheld in full




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        Tab #          Bates and/or Log Number         Redacted or Withheld in Full

  25a              PRIV_AVDL_AT_00003490              Withheld in full

  25b              PRIV_AVDL_AT_00003492              Withheld in full

  26               PRIV_AVDL_AT_00003960              Withheld in full

  26a              PRIV_AVDL_AT_00003961              Withheld in full

  27               PRIV_AVDL_AT_00004154              Withheld in full

  28               PRIV_AVDL_AT_00006615 /            Redacted
                   AVDL_AT_00800978                   (redactions highlighted in pink)

  29               PRIV_AVDL_AT_00004169              Withheld in full

  30               PRIV_AVDL_AT_00004074              Withheld in full

  31               PRIV_AVDL_AT_00004069              Withheld in full

  32               PRIV_AVDL_AT_00004052              Withheld in full

  33               PRIV_AVDL_AT_00004354              Withheld in full

  34               PRIV_AVDL_AT_00012974              Withheld in full

                               Greenleaf Documents

  35               PRIV_AVDL_AT_00003477              Withheld in full

  36               PRIV_AVDL_AT_00001925              Withheld in full

  37               PRIV_AVDL_AT_00001927              Withheld in full

  38               PRIV_AVDL_AT_00001926              Withheld in full

  39               PRIV_AVDL_AT_00001919              Withheld in full

  40               PRIV_AVDL_AT_00000310              Withheld in full

  41               PRIV_AVDL_AT_00000311              Withheld in full




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        Tab #          Bates and/or Log Number         Redacted or Withheld in Full

  42               PRIV_AVDL_AT_00000275              Withheld in full

  43               PRIV_AVDL_AT_00003209              Withheld in full

  43a              PRIV_AVDL_AT_00003205              Withheld in full

  44               PRIV_AVDL_AT_00002977              Withheld in full

  45               PRIV_AVDL_AT_00002979              Withheld in full

  46               PRIV_AVDL_AT_00003476              Withheld in full

  47               PRIV_AVDL_AT_00029826              Withheld in full

  48               PRIV_AVDL_AT_00028737              Withheld in full

  49               PRIV_AVDL_AT_00028499 /            Redacted
                   AVDL_AT_01016580                   (redactions highlighted in pink)

  50               PRIV_AVDL_AT_00029827 /            Redacted
                   AVDL_AT_01027269                   (redactions highlighted in pink)

  51               PRIV_AVDL_AT_00002426              Withheld in full

  52               PRIV_AVDL_AT_00002421              Withheld in full

  53               PRIV_AVDL_AT_00028332 /            Redacted
                   AVDL_AT_01015126                   (redactions highlighted in pink)

  54               PRIV_AVDL_AT_00002433              Withheld in full

  54a              PRIV_AVDL_AT_00002420              Withheld in full

  55               PRIV_AVDL_AT_00027809 /            Redacted
                   AVDL_AT_01004696                   (redactions highlighted in pink)

  56               PRIV_AVDL_AT_00029579 /            Redacted
                   AVDL_AT_01021881                   (redactions highlighted in pink)




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        Tab #          Bates and/or Log Number         Redacted or Withheld in Full

  57               PRIV_AVDL_AT_00001761              Withheld in full

  58               PRIV_AVDL_AT_00001923              Withheld in full

  58a              PRIV_AVDL_AT_00001924              Withheld in full

  59               PRIV_AVDL_AT_00029051              Withheld in full

  60               PRIV_AVDL_AT_00024682 /            Redacted
                   AVDL_AT_01000204                   (redactions highlighted in pink)

  61               PRIV_AVDL_AT_00026468              Withheld in full

  62               PRIV_AVDL_AT_00002348              Withheld in full

  63               PRIV_AVDL_AT_00002419              Withheld in full

  63a              PRIV_AVDL_AT_00002432              Withheld in full

  64               PRIV_AVDL_AT_00024680 /            Redacted
                   AVDL_AT_01000195                   (redactions highlighted in pink)

  65               PRIV_AVDL_AT_00027015              Withheld in full

  66               PRIV_AVDL_AT_00028695 /            Redacted
                   AVDL_AT_01025880                   (redactions highlighted in pink)

  67               PRIV_AVDL_AT_00018682              Withheld in full

  67a              PRIV_AVDL_AT_00018681              Withheld in full

  68               PRIV_AVDL_AT_00000338 /            Redacted
                   AVDL_AT_00776547                   (redactions highlighted in pink)

  69               PRIV_AVDL_AT_00024683 /            Redacted
                   AVDL_AT_01000209                   (redactions highlighted in pink)

  70               PRIV_AVDL_AT_00028113 /            Redacted
                   AVDL_AT_01013925                   (redactions highlighted in pink)




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        Tab #               Bates and/or Log Number              Redacted or Withheld in Full

                                      Avadel Presentations

  71                    PRIV_AVDL_AT_00018692 /                 Redacted
                        AVDL_AT_00937783                        (redactions highlighted in pink)

                                                                Pages 02-07, 40-42

                                                                (Bates marking by Priv Log ID
                                                                for ease of reference)

  72                    PRIV_AVDL_AT_00024277 /                 Redacted (redactions highlighted
                        AVDL_AT_00948590                        in pink)

                                                                Pages 02-07, 39-41

                                                                (Bates marking by Priv Log ID
                                                                for ease of reference)

  73                    PRIV_AVDL_AT_00011633 /                 Redacted (redactions highlighted
                        AVDL_AT_00864047                        in pink)

                                                                Pages 05, 12, 18, 70-71

                                                                (Bates marking by Priv Log ID
                                                                for ease of reference)



 Please let us know if the Court has any questions or needs anything further.



 Respectfully submitted,

 /s/ Daniel M. Silver

 Daniel M. Silver (#4758)

 cc:     Counsel of record (via E-Mail)




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